                                                                UNITED STATES BANKRUPTCY COURT
                                                                       DISTRICT OF OREGON

 In re                                            )
                                                  )    Case No.                   16-30079
 Douglas Wayne Balzer                             )       (NOTE: If blank, Case No. will be
 Janice Elaine Balzer                             )        on the Meeting of Creditors Notice)
                                                  )
                                                  )    CHAPTER 13 PLAN DATED            January 16, 2016 ; AND
                                                  )      MOTION TO VALUE COLLATERAL (See Paragraph 2(b)(1) and (2) below);
                                                  )      MOTION TO AVOID LIENS (See Paragraph 6 below)
                                                         THIS PLAN SETS OUT NONSTANDARD PROVISIONS BEGINNING WITH
                                                  )    PARAGRAPH 10
 Debtor(s)

NOTICE TO INTERESTED PARTIES: Your rights may be affected. Your claim may be modified or eliminated. You
should read these papers carefully and discuss them with your attorney. If you do not have one, you may wish to
consult one.

If you oppose the Plan treatment of your claim or any provision of this Plan, you must file an objection to confirmation (or
one must be filed on your behalf) within fourteen days after the conclusion of the meeting of creditors, unless otherwise
ordered by the Bankruptcy Court. See Local Bankruptcy Rule 3015-3(c). Failure of a creditor to file a written objection
to the plan shall constitute acceptance of the plan and the Bankruptcy Court may confirm the plan without further
notice. If there are any additional plan provisions or provisions that alter the language of paragraphs 1-9, they shall be
outlined in paragraphs 10+ below.

1. The debtor shall pay to the trustee:

      (a) a monthly payment of 384

      (b) all proceeds from avoided transfers, including proceeds from transfers avoided by the trustee;

      (c) upon receipt by the debtor, all tax refunds attributable to prepetition tax years and, upon receipt by the debtor, net
      tax refunds (i.e., tax refunds not otherwise provided for in the plan, less tax paid by debtor for a deficiency shown on
      any tax return for that same tax year or tax paid by setoff by a tax agency for a postpetition tax year) attributable to
      postpetition tax years during the:     36 months or     60 months from the date the first plan payment is due (note:
      refunds for the first three years of the plan are due in cases with 36 month commitment periods; refunds for all five
      years are due in cases with 60 month commitment periods);

      (d) a lump sum payment of $                       on or before       (date); and

      (e)            .

      Debtor acknowledges that if the debtor is ever more than 30 days delinquent on any payment due under section 1(a)
      of this plan, upon motion of the trustee granted by the court after appropriate notice, a wage deduction order to
      debtor's employer may be issued immediately.

2. The trustee shall disburse all funds received pursuant to paragraph 1 as follows:

      (a) First, to the trustee's percentage fee and expenses.

      (b) Second, to secured creditors as provided in (1) and (2) below. Should the trustee not have sufficient funds in trust
          to pay fully the disbursements listed below, disbursements of funds available shall be made pro rata. The terms of
          the debtor’s prepetition agreement with each secured creditor shall continue to apply, except as otherwise
          provided in this plan or in the order confirming plan. Secured creditors shall retain their liens until payment of the
          underlying debt, determined under nonbankruptcy law, or discharge under §1328(a), at which time the lien shall
          terminate and be released by the creditor.



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            (1) Cure of Default and Claim Modification. The debtor will cure the default and maintain the contractual
                installment payments (as provided in paragraph 4) on the secured claims listed below in the “Estimated
                Arrearage if Curing” column. The amount listed in this column is an estimate; the creditor’s timely filed and
                allowed claim shall control. Claims provided for in the “Collateral Value if Not Paying in Full” column are
                allowed secured claims only to the extent of the value indicated, and pursuant to §506(a), the debtor MOVES
                the court for an order fixing the value of the collateral in the amount stated below. Unless a creditor timely
                objects to confirmation, the value of the creditor’s interest in the collateral shall be limited to the amount listed
                below, and that amount will be paid under the plan with interest at the rate stated below.

                  For claims provided for in the “Estimated Secured Claim if Paying Secured Claim in Full” column, including full
                  payment of “910 claims” not subject to 11 U.S.C. §506 pursuant to the hanging paragraph of 11 U.S.C.
                  §1325(a)(9), the creditor will receive (a) the Amount of Secured Claim set forth in box 4 of the creditor’s timely
                  proof of claim or (b) if the claim is a “910 claim,” the Amount of Claim as of Date Case Filed set forth in box 1
                  of the creditor’s timely proof of claim, even if the Amount of Claim as of Date Case Filed exceeds the Amount
                  of Secured Claim.

                  For all creditors provided for under this subparagraph, if the creditor’s claim will not be paid in full, the portion
                  of the creditor’s claim that exceeds the amount of the allowed secured claim shall be treated as an unsecured
                  claim under paragraph 2(e) (if the claim identifies the priority position of the claim) and 2(f) below.

                  Instruction to debtor(s): Use only one of the following columns for each creditor: “Estimated Arrearage if
                  Curing,” or “Collateral Value if Not Paying in Full,” or “Estimated Secured Claim if Paying Secured Claim in
                  Full.” All other columns must be completed.

                                                                                                      Estimated
                                                                                                       Secured
                                                                                                        Claim if
                                                                                     Collateral          Paying
                                                                     Estimated     Value if Not        Secured         Post-           Monthly
                                                                     Arrearage       Paying in         Claim in    confirmation          Plan
 Creditor                           Collateral                        if Curing OR          Full OR         Full   Interest Rate      Payment
 -NONE-

            (2) Secured Claim Modification Not Expressly Authorized by the Code. This subparagraph may include, but
                is not limited to, modification of a claim secured by a purchase money security interest in either (1) a motor
                vehicle acquired for personal use by the debtor within 910 days before the bankruptcy filing date, or (2) any
                other personal property collateral acquired within one year before the bankruptcy filing. Secured claims
                provided for in this subparagraph shall be limited to the amount indicated in the “Amount of Claim as Modified
                (Value of Collateral)” column. The debtor MOVES the court for an order fixing the value of the collateral in the
                amount stated below.
                  DEBTOR PROPOSES THAT THE CREDITOR(S) SPECIFICALLY IDENTIFIED BELOW ACCEPT, EITHER
                  EXPRESSLY OR IMPLIEDLY, THE FOLLOWING TREATMENT WHICH THE COURT MIGHT NOT BE
                  ABLE TO APPROVE ABSENT CONSENT OF CREDITOR(S). FAILURE OF A CREDITOR TO FILE A
                  WRITTEN OBJECTION TO THIS PLAN PRIOR TO CONFIRMATION SHALL CONSTITUTE ACCEPTANCE
                  OF THE PLAN.
                                                                                             Monthly
                                            Amount of Claim as Modified Post-confirmation       Plan
 Creditor                  Collateral          (Value of Collateral)      Interest Rate     Payment
 -NONE-

            (3) Adequate protection payments shall be disbursed by the trustee pre-confirmation from funds on hand with the
                trustee in the payment amounts specified in the plan for personal property secured creditors, absent a
                provision in this plan or a court order providing for a different amount to be paid pre-confirmation. If the debtor
                fails to make a monthly payment sufficient to pay the adequate protection payments in full, the trustee will
                disburse the funds pro rata according to the monthly payments proposed for those creditors. Adequate
                protection payments paid through the trustee pre-confirmation will be deducted from the amount of the allowed
                claim. Unless the concerned creditor is fully secured or oversecured for purposes of §506 or §1325(a)(9), no
                interest shall be paid from the date of the filing of the petition to the date of confirmation unless otherwise
                specifically provided for in the payment provisions set forth above.
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            (4) Attorney Compensation: Original attorney fees and expenses are $ 4750 , of which $ 4560 remains unpaid. If
                debtor has agreed to an estimated rather than a fixed fee, upon application, the court in its sole discretion may
                award not more than $500 in addition to the above amount without further notice. Attorney fees are to be paid
                either:   From all available funds after paragraph 2(b) payments are made; or      Other All attorney fees,
                  including supplemental compensation, shall be paid from all available funds after any fixed monthly payments in
                  ¶2(b) are made
            (5) The debtor shall surrender any collateral not otherwise addressed by the terms of this plan no later than upon
                confirmation of this plan to the following (i.e., state creditor NAME followed by DESCRIPTION of collateral to
                be surrendered. If the debtor does not have possession of the collateral, this should be indicated below):
       Creditor                                                           Description of collateral to be surrendered
       -NONE-

      (c) Third, pro rata, until fully paid, allowed unsecured domestic support obligations under §507(a)(1).

      (d) Fourth, allowed administrative expenses under §507(a)(2).

      (e) Fifth, pro rata, until fully paid, to allowed priority claims in the order stated in §507(a)(3)-(10), including §1305
          claims.

      (f) Sixth, pro rata, to timely filed and allowed nonpriority unsecured claims, the amounts required by §1325(b)(1).
          These monies will be distributed in the method indicated in the section marked below [MARK ONLY ONE].

                  (1) The creditors will receive approximately 5 % of their claims. Payment of any dividend will depend upon
                      the amount of allowed secured claims, the amount of allowed priority claims (including costs of
                      administration and the debtor’s attorney’s fees), and the total amount of allowed, nonpriority unsecured
                      claims.
                  (2) The creditors will receive a minimum        % of their claims. This percentage will not be reduced regardless
                      of the amount of total creditors' claims filed.
      (g) Pursuant to §1325(a)(4), the "best interest of creditors" number is determined to be $ NA , and not less than that
          amount shall be distributed to unsecured priority and, pro rata, non-priority creditors with timely filed and allowed
          claims. The total amount of allowed priority claims will reduce the amount distributed to unsecured, non-priority
          creditors.
      (h) Pursuant to §1325(a)(4), all allowed unsecured claims shall receive interest of NA % from the time of
          confirmation.
3. The debtor ASSUMES the following executory contracts and leases:
       Creditor                                                         Amount of Default [State if None] Cure Provisions
       -NONE-

      Those executory contracts or leases not specifically mentioned above are treated as rejected. Any timely filed and
      allowed claim arising from rejection shall be treated under paragraph 2(f). The debtor will pay all assumed executory
      contracts and leases directly, including amounts required to cure. The debtor shall surrender any property covered by
      rejected executory contracts or leases to the affected creditor no later than upon confirmation of this plan.
4. The debtor shall pay directly to each of the following creditors, whose debts are either fully secured or are secured only
   by a security interest in real property that is the debtor's principal residence, the regular payment due post-petition on
   these claims in accordance with the terms of their respective contracts, list any pre-petition arrearages in paragraph
   2(b)(1) and/or specify any other treatment of such secured creditor(s) in an additional paragraph at the end of this
   plan:
       Creditor                                                  Collateral                                                              Payment
       -NONE-
5. Subject to the provisions of §502, untimely claims are disallowed, without the need for formal objection, unless allowed
   by court order.




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6. The debtor MOVES, pursuant to §522(f)(1), to avoid the judicial liens and/or non-purchase money security interests of
   the following creditors because they impair an exemption(s) of the debtor:
             Creditor                                                               Collateral
             -NONE-
             -NONE-
      Absent objection from a creditor, the order of confirmation will avoid its lien and its claim will be treated in paragraph
      2(f).
7. The applicable commitment period of this plan is 36 or 60 months. Debtor(s) shall make plan payments for the
   length of the commitment period unless the debtor(s) first pay 100% of all allowed claims with appropriate interest. If
   the commitment period is 36 months, the plan payments may continue for a longer period, not to exceed 60 months,
   as necessary to complete required payments to creditors. The approximate length of the plan is 60 months; cause to
   extend longer than 36 months is as follows:



8. This plan may be altered post-confirmation in a non-material manner by court order after notice to the debtor, the
   trustee, any creditor whose claim is the subject of the modification and any interested party who has requested special
   notice.
9. Debtor Certification. Debtor(s) certifies that the petition was filed in good faith, and this plan was proposed in good faith
   and not by any means forbidden by law. Debtor(s) further certifies that all postpetition domestic support obligations
   have been paid in full on the date of this plan and will be paid in full at the time of the confirmation hearing.

ADDITIONAL NONSTANDARD PROVISIONS (list each by separate numbered paragraphs below, beginning with 10)



 /s/ Douglas Wayne Balzer                                                                 /s/ Janice Elaine Balzer
 Douglas Wayne Balzer                                                                     Janice Elaine Balzer
                                 DEBTOR                                                                           DEBTOR

CERTIFICATE OF SERVICE on Creditors/Parties Treated in Paragraphs 2(b)(1) (under the “Collateral Value if Not
Paying in Full” column), 2(b)(2) (under the “Amount of Claim as Modified” column), 3, and 6 (see FRBP 3012, 4003(d),
and 9014, and LBR 6006-1(b)). I certify that copies of this plan and the notice of hearing to confirm this plan were served
as follows:
a) For creditors/parties who are not Insured Depository Institutions (served by court) (see FRBP 7004(b)), I either listed
the creditors/parties in the mailing list filed with the court exactly as follows, OR, on (insert date) , I served the
above-documents by first-class mail to the creditors/parties at the names and addresses exactly as follows (list each
creditor/party, the person or entity the creditor/party was served through, and the address):


b) For Insured Depository Institutions (see FRBP 7004(h)), on (insert date) , I served the above-documents by certified
mail, or by other authorized means (specify), at the name and address exactly as follows (list each insured depository
institution, the person or entity the institution was served through, and the address):


                                                                                      /s/ Tom McAvity
                                                                                                 DEBTOR OR DEBTOR'S ATTORNEY




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